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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


                                             )
 Make the Road New York, et al.,             )
                                             )
              Plaintiffs,                    )
                                             )
 v.                                          )       Civil Action No. 1:19-cv-02369-KBJ
                                             )
 Kevin McAleenan, et al.,                    )
                                             )
              Defendants.                    )
                                             )


                            JOINT STIPULATION ON SCHEDULING

       The parties, by and through their counsel, having met and conferred, and in light of the

scheduling call with Court on October 4, 2019, hereby stipulate as follows:

       1. Pursuant to the Court’s order dated August 14, 2019, the Defendants deadline to answer

           or otherwise respond to Plaintiffs’ complaint is currently October 11, 2019.




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       2. The parties agree, that in light of the possibility of appeal in this case, that Defendants’

          deadline to answer or otherwise respond should be extended by sixty (60) days up to

          December 10, 2019.

       3. The parties further agree—in the event a notice to appeal is filed by Defendants—to

          meet and confer concerning how to further proceed in this case.

                                                  Respectfully submitted,

                                                  JOSEPH H. HUNT
                                                  Assistant Attorney General

                                                  WILLIAM C. PEACHEY
                                                  Director

                                              By: /s/ Erez Reuveni
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                                                  KATHRYNE GRAY
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                                                  Trial Attorneys

Dated: October 7, 2019                             Attorneys for Defendants




                                                     Respectfully submitted,

                                                                  /s/ Celso Perez
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                                                 **Filing pursuant to LCvR 83.2(c)
                                                 ***Application for admission pending




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                                CERTIFICATE OF SERVICE

       I hereby certify that on October 7, 2019, I electronically filed the foregoing document with

the Clerk of the Court for the United States Court District Court for the District of Columbia by

using the CM/ECF system. Counsel in the case are registered CM/ECF users and service will be

accomplished by the CM/ECF system.


                                 By: /s/ Erez Reuveni
                                     EREZ REUVENI
                                     Assistant Director
                                     United States Department of Justice
                                     Civil Division




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